Filed 8/23/24 Conservatorship of the Person of Lateasa G. CA2/7
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION SEVEN


Conservatorship of the Person of                             B333562
LATEASA G.                                                   (Los Angeles County Super.
                                                             Ct. No. 23NWMH00253)

Public Guardian of County of Los
Angeles County, as Conservator,
etc.,

     Petitioner, Respondent,
and Real Party in Interest,

         v.

LATEASA G.,

         Objector and Appellant.


     APPEAL from an order of the Superior Court of Los
Angeles County, Scott R. Herin, Judge. Dismissed.
     Christian C. Buckley, under appointment by the Court of
Appeal, for Objector and Appellant.
      Dawyn R. Harrison, County Counsel, Laura Quinonez,
Assistant County Counsel, and William C. Sias, Senior Deputy
County Counsel, for Petitioner and Respondent.

                  __________________________

      Lateasa G. is a conservatee subject to a conservatorship
under the Lanterman-Petris-Short (LPS) Act (Welf. &amp; Inst.
Code,1 § 5000 et seq.). Lateasa contends the trial court failed to
advise her of her right to a jury trial before taking her personal
waiver of the right in violation of Probate Code section 1828,
subdivision (a)(6). The Los Angeles County Office of the Public
Guardian (Public Guardian) does not dispute that the superior
court failed to provide an adequate jury trial advisement, but it
argues any error was harmless because substantial evidence
shows that Lateasa did not have the capacity to make a knowing
and intelligent waiver of her right to a jury trial.
      On August 7, 2024, while this appeal was pending, the
appointed conservator (then Kerri Otis) filed a petition for
reappointment. The one-year conservatorship was scheduled to
expire on August 10, 2024. We requested the parties submit
supplemental briefing on whether termination of the
conservatorship rendered this appeal moot. Lateasa’s attorney
submitted a letter brief stating termination of the
conservatorship would render the appeal moot, and further, there
are no unsettled legal issues for which we should exercise our
discretion to review. We agree that we can no longer grant

1    Further undesignated statutory references are to the
Welfare and Institutions Code.




                                2
Lateasa effective relief given that Lateasa will have an
opportunity to have a jury trial (and a proper advisement) before
the conservator is reappointed and there are no factors that
support our exercise of discretion to consider the appeal. We
dismiss the appeal as moot.

      FACTUAL AND PROCEDURAL BACKGROUND

A.     Appointment of the Conservator
       On May 18, 2023 the Public Guardian filed a petition under
sections 5008, subdivision (h)(1)(A), and 5350 through 5368 to be
appointed as the conservator of Lateasa’s person and estate. On
June 12, 2023 the superior court held an initial hearing on the
petition, and the matter was set for trial on August 11, 2023. At
the June 12 hearing, the following colloquy took place:
“The court: Thank you. Good morning, Miss [G.].
“Lateasa G.: Good morning. [¶]. . . [¶]
“Counsel for Lateasa G.: So Miss [G.] would like a court trial. I
would like to ask the court to appoint Dr. D’Iingillo.
“The court: All right. Court appoints Dr. Pietro D’Ingillo
confidentially to report on grave disability. . . . [¶] . . . [¶] And
court orders transportation and sets the matter for court trial on
August 10, 2023, 1:30 p.m. Transportation is ordered.
“Miss [G.], did you have any questions for me?
“Lateasa G.: No. It’s just that I just wanted to have a trial by
jury. Can I speak for myself?




                                  3
“Counsel for Lateasa G.: You can tell the judge something right
now, but we are going to have a court trial in front of the judge.
That’s what you want, right?
“Lateasa G.: Is that who he is?
“Counsel for Lateasa G.: This is the judge (indicating).
“The court: Probably. There’s always a chance I might have the
day off, but I am usually here.
“Lateasa G.: Okay. Is that August 10th?
“The court: Yes, ma’am.
“Counsel for Lateasa G.: August 10th at 1:30.
“Lateasa G.: So how am I going to get back down here?
“The court: I am arranging transportation for you.
“Lateasa G.: Okay.
“The court: So is that okay with you?
“Lateasa G.: That’s fine.
[¶]. . . [¶]
“The court: . . . . See you on August 10th. Nice to see you.
“Lateasa G.: Okay. Thank you, judge.
“The court: Oh, Miss [G.], I didn’t say this out loud. So you
would agree to have a court trial and not a jury trial; is that
correct?
“Lateasa G.: Yes, court trial, not jury.
“The court: Jury trial waiver is taken.”




                                  4
       On August 10 Lateasa appeared remotely for trial, with her
attorney appearing in person. At the outset of the hearing, the
superior court stated, “We are here for a court trial. Jury trial
waiver was previously taken.” The court then inquired whether
Lateasa preferred a closed or private hearing, and she responded
that she preferred a private hearing. The court proceeded with a
confidential proceeding.
       At the court trial, Lateasa’s treating psychiatrist, Viet
Nguyen, M.D., testified that he diagnosed Lateasa with
schizophrenia, and she had delusions and an inability to
differentiate between reality and non-reality. As a result, she
could not provide for her own food, clothing, and shelter.
Dr. Nguyen opined that Lateasa was gravely disabled. Further,
Lateasa had been prescribed psychiatric medications, but
Dr. Nguyen did not believe she would take them voluntarily
because she did not believe she had a mental illness. Therefore,
Dr. Nguyen stated, Lateasa needed to receive treatment and
rehabilitation in a residential treatment facility. Lateasa
testified that she was married, did not need to see a doctor, and
had talked to the judge when he came to her house. When the
court inquired as to why she did not need a conservator, Lateasa
responded that they robbed and harassed her at work.
       After hearing argument from counsel, the superior court
granted the petition and appointed Public Guardian as the
conservator over Lateasa’s person. The court explained that
based on the testimony of Dr. Nguyen and Lateasa, Lateasa had
a delusion that she was employed and had a home, although she
was homeless.
       The superior court expressed its concern that because of
Lateasa’s mental illness, she would not be able to provide her




                                5
own food, clothing, and shelter. The court therefore found beyond
a reasonable doubt that Lateasa was gravely disabled.

B.     August 2024 Petition for Reappointment of Conservator
       On August 5, 2024, in advance of the August 10 date for
termination of the conservatorship, Kerri Otis, as the
conservator, filed a petition for reappointment as the conservator
for Lateasa. The conservator provided notice of a hearing on the
petition scheduled for August 28, 2024.2

                           DISCUSSION

A.    The LPS Act
      “The LPS Act governs the involuntary detention,
evaluation, and treatment of persons who, as a result of mental
disorder, are dangerous or gravely disabled. (§ 5150 et seq.) The
Act authorizes the superior court to appoint a conservator of the
person for one who is determined to be gravely disabled (§ 5350
et seq.), so that he or she may receive individualized treatment,
supervision, and placement (§ 5350.1).” (Conservatorship of
John L. (2010) 48 Cal.4th 131, 142 (John L.); accord,
Conservatorship of Jose B. (2020) 50 Cal.App.5th 963, 969-970.)
“As defined by the Act, a person is ‘gravely disabled’ if, as a result
of a mental disorder, the person ‘is unable to provide for his or
her basic personal needs for food, clothing, or shelter.” (§ 5008,
subd. (h)(1)(A).)” (John L., at p. 142; accord, Jose B., at p. 970.)

2     We augment the record with the August 5, 2024 petition for
reappointment of conservator and notice of hearing. (Cal. Rules
of Court, rule 8.155(a)(1)(A).)




                                  6
An LPS conservatorship automatically terminates after one year,
and the conservator may seek reappointment by filing a petition.
(§ 5361.) A proposed conservatee has a right to a jury trial upon
demand at the establishment and annual renewal of a
conservatorship. (Conservatorship of Ben C. (2007) 40 Cal.4th
529, 541-542; Conservatorship of Joanne R. (2021) 72 Cal.App.5th
1009, 1016 (Joanne R.); see § 5350, subd. (d).)

B.     Jury Trial Waivers Under the LPS Act
       “‘LPS commitment proceedings require the court to obtain a
personal waiver of the right to a jury trial from the proposed
conservatee.’” (Joanne R., supra, 72 Cal.App.5th at p. 1016; see
Conservatorship of Heather W. (2016) 245 Cal.App.4th 378, 383;
Prob. Code, § 1828, subd. (a)(6).) Further, Probate Code
section 1828, subdivision (a)(6), which is incorporated into the
LPS Act by Welfare and Institutions Code section 5350, requires
the trial court to inform the proposed conservatee of his or her
right to a jury trial. (People v. Washington (2021) 72 Cal.App.5th
453, 468.)
       Generally, with respect to civil commitments, the failure of
a court to obtain a valid jury trial waiver where required by
statute “denies the defendant his or her statutory right to a jury
trial,” and is a “‘miscarriage of justice’ within the meaning of
article VI, section 13 [of the California Constitution] [that]
requires reversal without inquiry into the strength of the
evidence in a particular case.” (People v. Blackburn (2015)
61 Cal.4th 1113, 1132-1133 [failure to obtain valid jury trial
waiver from mentally disordered offender in civil commitment
proceeding was reversible error]; accord, People v. Tran (2015)
61 Cal.4th 1160, 1169 [trial court’s acceptance of invalid jury trial




                                 7
waiver in commitment proceeding for defendant who pleaded not
guilty by reason of insanity “is not susceptible to ordinary
harmless error analysis and automatically requires reversal”];
Heather W., supra, 245 Cal.App.4th at pp. 384-385 [trial court’s
failure to advise LPS conservatee of her right to a jury trial and
to obtain personal waiver of that right was reversible error];
Conservatorship of Kevin A. (2015) 240 Cal.App.4th 1241, 1253
[reversing conservatorship order where trial court erred in
accepting counsel’s waiver of LPS conservatee’s right to jury trial
over conservatee’s objection]; but see Conservatorship of C.O.
(2021) 71 Cal.App.5th 894, 917-919 [trial court’s failure to
personally advise proposed conservatee of his right to a jury trial
was harmless error under People v. Watson (1956) 46 Cal.2d 818,
836 because the evidence showed conservatee was gravely
disabled at the time of trial and there was no evidence he would
have elected to have a jury trial had he been personally advised
of his right].)

C.     Lateasa’s Appeal Is Moot
       On appeal, Lateasa contends the superior court erred in
failing to advise her of her right to a jury trial before taking her
personal waiver of that right, requiring reversal. In its
respondent’s brief, Public Guardian concedes the superior court
erred, but it argues the error was harmless because Lateasa
lacked the capacity to understand and waive her right to a jury
trial. As discussed, the current conservator has now filed a
petition for reappointment as the conservator for Lateasa, and




                                  8
the initial one-year conservatorship has expired.3 The
conservator gave notice of a hearing on the petition set for
August 28, 2024. We agree with Lateasa’s position in her
supplemental letter brief that her appeal has been rendered moot
by the expiration of the conservatorship because she will have a
right to a jury trial (and advisement of that right) with respect to
a hearing on the pending petition to reappoint the conservator.
As Lateasa explains, “The facts of this case are not unique and
there is no need for additional published authority on the
subject.”
       “A court is tasked with the duty ‘“to decide actual
controversies by a judgment which can be carried into effect, and
not to give opinions upon moot questions or abstract propositions,
or to declare principles or rules of law which cannot affect the
matter in issue in the case before it.”’” (In re D.P. (2023)
14 Cal.5th 266, 276.) “A case becomes moot when events
‘“render[] it impossible for [a] court, if it should decide the case in
favor of plaintiff, to grant [the plaintiff] any effect[ive] relief.”’
[Citation.] For relief to be ‘effective,’ two requirements must be
met. First, the plaintiff must complain of an ongoing harm.
Second, the harm must be redressable or capable of being
rectified by the outcome the plaintiff seeks.” (Id. at p. 276.) An
appeal from appointment of a conservator becomes moot if the
conservatorship expires prior to resolution of the appeal. (See
John L., supra, 48 Cal.4th 131 at p. 142, fn. 2; Conservatorship of
K.Y. (2024) 100 Cal.App.5th 985, 988 [appeal of conservatorship

3     We assume that the conservatorship has been extended
pending reappointment of the conservator, but we do not have a
record of an extension.




                                   9
appointment was moot where conservatorship expired more than
three months prior to issuance of opinion].)
       However, even where an appeal is moot, “courts may
exercise their ‘inherent discretion’ to reach the merits of the
dispute.” (In re D.P., supra, 14 Cal.5th at p. 282.) The Supreme
Court in D.P. explained that reviewing courts will generally
exercise their discretion when the case presents an issue of broad
public interest that is likely to recur, there may be a recurrence
of the controversy between the parties, or a material question
remains for the court to determine. (Ibid.; see John L., supra,
48 Cal.4th at p. 142, fn. 2 [exercising discretion to consider
whether, despite expiration of conservatorship, the superior court
violated the conservatee’s constitutional rights by holding a
conservatorship hearing in his absence, explaining the appeal
“‘raises important issues that are capable of repetition but likely
to evade review’”]; Conservatorship of Joseph W. (2011)
199 Cal.App.4th 953, 960 [exercising discretion to consider appeal
of conservatorship order where conservatee argued denial of right
to jury trial]; cf. Conservatorship of K.Y., supra, 100 Cal.App.5th
at pp. 989, 991 [acknowledging court’s discretion to resolve moot
appeal but dismissing appeal because conservatee had accepted
reappointment of conservator].)
       We recognize that appeals of conservator appointments
often may become moot given the one-year length of
conservatorships. However, we agree with Lateasa that in this
case there is no important issue that is likely to evade review
because the LPS Act specifically requires the superior court to
advise the proposed conservatee of his or her right to a jury trial.
(Prob. Code, § 1828, subd. (a)(6); Conservatorship of Heather W.,
supra, 245 Cal.App.4th at pp. 383-384.) Public Guardian urges




                                10
us to exercise our discretion to consider this appeal to address
whether the superior court’s failure to follow its statutory
obligation to advise a proposed conservatee of her right to a jury
trial before taking a personal waiver is subject to review for
harmless error. We decline to exercise our discretion because, as
Lateasa argues, under similar circumstances the Supreme Court
and all but one Court of Appeal have held that the failure of a
court in a commitment proceeding to obtain a valid jury trial
waiver where mandated by statute requires automatic reversal.
(People v. Tran, supra, 61 Cal.4th at p. 1169; People v. Blackburn,
supra, 61 Cal.4th at pp. 1132-1133; Joanne R., supra,72 Cal.App.5th at pp. 1016-1017; Conservatorship of Kevin A.,
supra, 240 Cal.App.4th at p. 1253.)4




4      The only appellate court to apply harmless error review to
a failure to advise a proposed conservatee of his or her right to a
jury trial in an LPS proceeding is the Sixth District in its decision
in Conservatorship of C.O., supra, 71 Cal.App.5th at pages 917 to
919. As discussed, the weight of the authority is to the contrary,
and we concluded in Joanne R., supra, 72 Cal.App.5th at
pages 1016 to 1017 that the Supreme Court holdings in People v.
Tran, supra, 61 Cal.4th at page 1169 and People v. Blackburn,
supra, 61 Cal.4th at pages 1132 to 1133 apply to LPS
proceedings. We see no reason to depart from our reasoning in
Joanne R.




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                         DISPOSITION

     We dismiss the appeal as moot.




                                       FEUER, J.
We concur:




             MARTINEZ P. J.




             SEGAL, J.




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